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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   LINDA C. HARTER, Bar #179741
     Chief Assistant Federal Defender
 3   CARO MARKS, Bar #159267
     Assistant Federal Defender
 4   Designated Counsel for Service
     801 I Street, 3rd Floor
 5   Sacramento, California 95814
     Telephone: (916) 498-5700
 6
     Attorneys for Defendant
 7   MICHAEL LABRECQUE
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                   FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12 UNITED STATES OF AMERICA,             )   No. Cr-S-03-384 WBS
                                         )
13                Plaintiff,             )   STIPULATION AND ORDER TO CONTINUE
                                         )   JUDGMENT AND SENTENCING
14   v.                                  )
                                         )
15 MICHAEL LABRECQUE, et al.             )   Date: April 20, 2009
                                         )   Time: 8:30 a.m.
16                Defendants.            )   Judge: Hon. William B. Shubb
                                         )
17
_______________________________          )
18
           MICHAEL LABRECQUE, by and through his counsel, Caro Marks, Allan Harrod,
19
     by and through his counsel, Bruce Locke, and the United States of America, by and
20
     through its counsel, Laurel White, hereby stipulate and agree to continue the Judgment
21
     and Sentencing date presently scheduled for April 6, 2009 to April 20, 2009 at 8:30 a.m..
22
           Subsequent to the filing of the stipulation of January 29, 2009, a scheduling conflict
23
     arose among the parties with the present judgment and sentencing date.
24
           The March 16, 2009 date for defense counsel=s Reply is to remain unchanged.
25
           Defendants Labrecque and Harrod have been advised of this continuance and
26
     their signature below acknowledges their agreement.
27
           All defense counsel and counsel for the government concur in the need for this
28
            Case 2:03-cr-00384-WBS Document 297 Filed 02/05/09 Page 2 of 2




  1
          continuance.
  2
  3       Dated: February 4, 2009                             Respectfully submitted,
  4                                                           DANIEL BRODERICK
                                                              Federal Defender
  5
  6                                                           /s/ Linda C. Harter for
                                                              ________________________________
  7                                                           CARO MARKS
                                                              Assistant Federal Defender
  8                                                           Attorney for Defendant
                                                              MICHAEL LABRECQUE
  9
10                                                            /s/ Michael Labrecque
                                                              ________________________________
11                                                            MICHAEL LABRECQUE
                                                              Defendant
12
13                                /s/ Bruce Locke
                                                              ________________________________
14                                                            BRUCE LOCKE
                                                              Attorney at Law
15                                                            Attorney for Defendant
                                                              ALLAN HARROD
16
17                                                            /s/ Allan Harrod
                                                              ________________________________
18                                                            Defendant
19
                                                              /s/ Laurel White
20                                                            ________________________________
                                                              LAUREL WHITE
21                                                            Assistant United States Attorney
22                                                         ORDER
23        IT IS SO ORDERED.
24                                                     Dated: February 4, 2009
25
26
27
28
Stip/Order to Continue J&S/Labrecque/Cr-S-03-384 WBS           2
